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 5
                                     UNITED STATES DISTRICT COURT
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                                    EASTERN DISTRICT OF CALIFORNIA
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                                                     )   CASE NO. 1:23-CR-00033-ADA-BAM
 9   UNITED STATES OF AMERICA,                       )
                                                     )   ORDER UNSEALING CASE AS TO NAMED
10                                 Plaintiff,        )   DEFENDANT AND FILING REDACTED
                  v.                                 )   INDICTMENT
11                                                   )
                                                     )
12   JOSE ENRIQUE OROPEZA,                           )
                                                     )   UNSEALING ORDER
13                                 Defendants.

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            Upon application of the United States of America and good cause having been shown,
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            IT IS HEREBY ORDERED that the above-mentioned case be unsealed as to the above-named
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     defendant but that the previously filed Indictment remain under seal. IT IS FURTHER ORDERED that
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     the redacted Indictment submitted by the United States be filed on the public docket.
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     DATED: March 29, 2023
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23                                                               HON. SHEILA K. OBERTO
                                                                 UNITED STATES MAGISTRATE JUDGE
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